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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA
CHRISTOPHER TYSON

Plaintiff
                                                     Case No.
v.
                                                     20-cv-01450-RC
GOVERNMENT OF THE DISTRICT OF
COLUMBIA, et al.

Defendant

              PLAINTIFFS’ MOTION FOR ENTRY OF PROTECTIVE ORDER


          Christopher Tyson, Plaintiff, hereby respectfully moves the Court to enter his proposed

protective order which was attached to his Opposition as ECF No. 46-1and which is attached here.

The Defendants have stated in their recent filing (ECF 47) that they oppose entry of this order.

          Plaintiff sought the District’s consent pursuant to LCvR 7(m) by email bt after two days the

District has not responded.

          The proposed protective order is supported by “good cause” as Fed. R. Civ. P. 26(c)

requires. Fed. R. Civ. P. 26(c); EEOC v. Nat'l Children's Ctr., Inc., 98 F.3d 1406, 1411 (D.C. Cir.

1996) (requiring district court on remand to make required showing of “good cause” when its

protective order contained no discussion of why use of unfiled deposition was required to be

restricted); Univ. of Mass. v. Roslin Inst., 437 F. Supp. 2d 57, 60-61 (D.D.C. 2006).

          None of the provisions in Mr. Tyson’s proposed protective order violate any part of Circuit

law; many have been entered by other Judges of this Court in similar cases. Moreover, since Mr.

Tyson’s order is a global order protecting all parties it will obviate the need for multiple protective

orders.




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        Mr. Tyson incorporates by reference herein the additional arguments in favor of entering his

proposed protective order (ECF No. 46-1 and filed herewith) instead of the District’s proposed

protective order (ECF 45-1).


CONCLUSION


        Therefore, Mr. Tyson respectfully moves the Court to grant his motion.


Respectfully submitted,

/s/ William Claiborne
WILLIAM CLAIBORNE
D.C. Bar # 446579
717 D Street, N.W., Ste 300
Washington, DC 20004
claibornelaw@gmail.com
202-824-0700

/s/Sean R. Day/s/
Sean R. Day
D.C. Bar No. 452420
7474 Greenway Center Dr Ste 150
Greenbelt MD 20770-3524
Sean@DayInCourt.Net
301.220.2270

Attorneys for Plaintiff




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